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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF OKLAHOMA


ANDREW COOKE, ON BEHALF OF               )   Master Docket No. 5:14-cv-00087-C
THE ANDREW R. COOKE 1998 TRUST, )            (Consolidated with Nos. 5:14-cv-00047-C;
Individually and on Behalf of All Others )   5:14-cv-00058-C; and 5:14-cv-00114-C)
Similarly Situated,                      )
                                         )   CLASS ACTION
                        Plaintiffs,      )
       vs.                               )
EQUAL ENERGY LTD., et al.,               )
                        Defendants.      )
                                         )
                                         )
                                         )


                  FEDERAL COURT ORDER AND FINAL JUDGMENT




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        A Settlement Hearing having been held before this Court (the “Court”) on April 7,

2015, pursuant to the Court’s Order entered on December 15, 2014 (the “Preliminary

Approval and Scheduling Order”) and the Order entered on December 30, 2014 (the

“Order to Continue Settlement Hearing”), upon a Stipulation and Agreement of

Compromise, Settlement, and Release, dated November 14, 2014 (the “Stipulation” or

“Settlement”), in the consolidated class action captioned Andrew Cooke, on Behalf of the

Andrew R. Cooke 1998 Trust, Individually and on Behalf of All Others Similarly Situated

v. Equal Energy Ltd., et al., No. CIV-14-0087-C (the “Federal Action”), which was

joined and consented to by all parties to the Federal Action, which Preliminary Approval

and Scheduling Order and Stipulation are incorporated herein by reference; it appearing

that due notice of said hearing was given in accordance with the Preliminary Approval

and Scheduling Order and that said notice was adequate and sufficient; and the parties

having appeared by their attorneys of record; and the attorneys for the respective parties

having been heard in support of the Settlement of the Federal Action; and an opportunity

to be heard having been given to all other persons desiring to be heard as provided in the

notice; and the entire matter of the Settlement having been considered by the Court,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, this 7th day of

April, 2015 as follows:

        1.      Unless otherwise defined herein, all defined terms shall have the meanings

as set forth in the Stipulation.

        2.      The Notice of Pendency and Settlement of Class Actions (the “Notice”) has

been mailed to the Settlement Class (as defined herein), and the Publication Notice of

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Pendency and Settlement of Class Actions (the “Publication Notice”) has been published,

pursuant to and in the manner directed by the Preliminary Approval and Scheduling

Order; proof of the mailing of the Notice and publication of the Publication Notice was

filed with the Court; and full opportunity to be heard has been offered to all parties, the

Settlement Class, and persons in interest. The form and manner of the Notice and

Publication Notice are hereby determined to have been the best notice practicable under

the circumstances and to have been given in full compliance with each of the

requirements of Federal Rule of Civil Procedure 23, due process, and applicable law, and

it is further determined that all members of the Settlement Class are bound by this Federal

Court Order and Final Judgment.

        3.      Based on the record in the Federal Action, each of the provisions of Federal

Rule of Civil Procedure 23(a) has been satisfied, and the Federal Action has been

properly maintained according to the provisions of Federal Rule of Civil Procedure

23(b)(2). Specifically, this Court finds that (a) the Settlement Class is so numerous that

joinder of all members is impracticable; (b) there are questions of law and fact common

to the Settlement Class; (c) the claims of the Plaintiffs as representative plaintiffs are

typical of the claims of the Settlement Class; (d) the Plaintiffs and their counsel have

fairly and adequately protected and represented the interests of the Settlement Class; and

(e) there were allegations that Defendants acted or refused to act on grounds generally

applicable to the Settlement Class.

        4.      The Federal Action is hereby finally certified as a non-opt-out class action,

pursuant to Federal Rule of Civil Procedure 23(b)(2), on behalf of a class consisting of all

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holders of Equal common shares between the dates of December 9, 2013, and up to and

including the date of closing of the Plan of Arrangement (July 31, 2014), who are alleged

to be harmed by Defendants as described in the Federal Action and the parallel

consolidated state class action captioned In re Equal Energy Ltd. Shareholder Litigation,

No. CJ-2013-6873, currently pending before the District Court of Oklahoma County for

the State of Oklahoma (the “State Action,” together with the Federal Action referred to as

the “Actions”), including the legal representatives, heirs, successors-in-interest,

transferees and assigns of all such foregoing holders and/or owners, immediate and

remote, and excluding the Defendants and any person, trust, corporation or other entity

related to or affiliated with any of them and their successors-in-interest (the “Settlement

Class”).

        5.      The Settlement is found to be fair, reasonable, and adequate to the

Settlement Class, and is hereby approved pursuant to Federal Rule of Civil Procedure 23.

The parties to the Stipulation are hereby authorized and directed to comply with and to

consummate the Settlement in accordance with its terms and provisions, and the Clerk is

directed to enter and docket this Federal Court Order and Final Judgment in the Federal

Action.

        6.      This Court has jurisdiction over the subject matter of the Federal Action,

including all matters necessary to effectuate the Settlement and this Federal Court Order

and Final Judgment and over all parties to the Federal Action.

        7.      The Federal Action and the claims asserted therein are hereby dismissed on

the merits with prejudice as to all Defendants in the Federal Action and against all

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members of the Settlement Class on the merits and, except as provided in the Stipulation,

without fees or costs (except as provided below in paragraph 13).

        8.      Any and all claims in any way seeking, alleging or including damages or

any other relief for any loss of value, failure to disclose, violation of shareholder rights, or

any violation of any type of the Securities Exchange Act of 1934, 15 U.S.C. §78a, et seq.,

its implementing regulations, or the Alberta Business Corporations Act, RSA 200, c B-9,

or any other foreign, U.S. federal or state law and any claims that were brought or could

have been brought by Plaintiffs in the Actions in their capacity as Equal shareholders

(including, but in no way limited to, any claims related directly or indirectly in any

manner whatsoever to any claims raised by Plaintiffs’ Counsel, or the Settlement Class in

any pleading, motion or brief filed in the Actions), and any grievances, controversies,

allegations, accusations, demands, judgments, causes of action, actions, suits, whether

class, representative, individual or otherwise in nature, damages whenever incurred,

liabilities of any nature whatsoever as well as all forms of relief, including all remedies,

costs, losses, liabilities, damages, debts, expenses, penalties, interest, and attorneys’ and

other professionals’ fees and related disbursements, whether known or unknown, foreseen

or unforeseen, suspected or unsuspected, asserted or unasserted, in their capacity as

shareholders whether: (a) claiming compensation, money damages, equitable, injunctive,

or other type of relief; (b) based on any foreign, federal, state, or municipal statute, law,

ordinance, or regulation; (c) based on common law or public policy; or (d) sounding in

tort or contract, whether fixed or contingent, accrued or un-accrued, liquidated or un-

liquidated, at law or in equity, matured or un-matured, whether class or individual in

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nature, including both known and unknown claims, which arise out of or are based upon

the allegations, transactions, facts, matters or occurrences, representations or omissions

involved, set forth, or referred to in the Actions and/or relate to the proposed Plan of

Arrangement between Equal and Petroflow, shall be individually and collectively,

completely fully, finally, and forever released, relinquished, and discharged; provided,

however, that the Released Claims shall not be construed to limit the right of the

Defendants, Plaintiffs, or any member of the Settlement Class to enforce the terms of the

Stipulation or the right of any Settlement Class member to exercise dissenter’s rights

under §191 of the ABCA.

        9.      The releases extend to claims that the parties granting the releases (the

“Releasing Persons”) may not know or suspect to exist at the time of the release, which, if

known, might have affected the Releasing Persons’ decision to enter into this release or

whether or how to object to the Court’s approval of the Settlement. The Releasing

Persons, including each member of the Settlement Class, shall be deemed to waive any

and all provisions, rights, and benefits conferred by any law of the United States or any

state or territory of the United States, or principle of common law or foreign law, which

may have the effect of limiting the release set forth above. In particular, the Releasing

Persons, including each member of the Settlement Class, shall be deemed to have

relinquished to the fullest extent permitted by law the provisions, rights, and benefits of

Section 1542 of the California Civil Code, which provides:

             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
        WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST
        IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
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        MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
        DEBTOR.

In addition, the Releasing Persons, including each member of the Settlement Class, shall

be deemed to relinquish, to the extent they are applicable, and to the fullest extent

permitted by law, any and all provisions, rights, and benefits conferred by any law of any

state or territory of the United States, federal law, or principle of common law, which is

similar, comparable, or equivalent to Section 1542 of the California Civil Code. The

Releasing Persons are deemed to have settled and released fully, finally, and forever any

and all claims released hereby, known or unknown, suspected or unsuspected, which now

exist, heretofore existed, or may hereafter exist, and without regard to the subsequent

discovery or existence of such additional or different facts. The parties to the Stipulation

acknowledged that the foregoing waiver was separately bargained for and is a material

term of the Settlement.

        10.     Plaintiffs, Plaintiffs’ Counsel, and all members of the Settlement Class are

barred and enjoined from asserting, commencing, prosecuting, assisting, instigating,

continuing, or in any way participating in the commencement or prosecution of any action

that asserts any Released Claim against any Released Person.

        11.     The Released Persons hereby fully, and forever release, settle and discharge

Plaintiffs, Settlement Class members and Plaintiffs’ Counsel from any and all claims

arising out of or relating to their filing, prosecution and settlement of the Actions;

provided, however, that this release does not include Defendants’ rights to enforce the

Settlement.



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        12.     Neither the Stipulation, the Settlement, this Federal Court Order and Final

Judgment, nor any act performed or document executed pursuant to or in furtherance of

the Stipulation or the Settlement (a) is or may be construed or deemed evidence of, a

presumption, concession, or admission by any Released Person or any other person of any

fault, liability, or wrongdoing as to any facts or claims alleged or asserted in the Federal

Action or otherwise; (b) is or may be construed as a presumption, concession or

admission by any Released Person that Plaintiffs or Plaintiffs’ Counsel, the Settlement

Class, or any present or former stockholders of Equal, or any other person, has suffered

any damage attributable in any manner to any Released Person; (c) is or may be construed

as a presumption, concession, or admission by Plaintiffs, any member of the Settlement

Class, or Plaintiffs’ Counsel of any infirmity of the Released Claims; or (d) shall not be

offered or admitted in evidence or referred to, interpreted, construed, invoked, or

otherwise used by any person for any purpose in the Actions or otherwise, except as may

be necessary to enforce or obtain Court approval of the Settlement. This provision shall

remain in force in the event that the Settlement is terminated. Notwithstanding the

foregoing, any of the Released Persons upon the Effective Date may file the Stipulation

or any judgment or order of the Court related hereto in any other action that may be

brought against them, in order to support any and all defenses or counterclaims based on

res judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction,

or any other theory of claim preclusion or issue preclusion, or similar defense or

counterclaim.




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        13.     Plaintiffs’ Counsel are hereby awarded attorneys’ fees and expenses in the

amount of $650,000.00, which sum the Court finds to be fair, reasonable, and in

accordance with applicable law, and which shall be paid to Lead Counsel in accordance

with the terms of the Stipulation.

        14.     The effectiveness of this Federal Court Order and Final Judgment and the

obligations of Plaintiffs, Plaintiffs’ Counsel, the Settlement Class, and the Defendants

under the Settlement shall not be conditioned upon or subject to the resolution of any

appeal that relates solely to the issue of Plaintiffs’ Counsel’s application for an award of

attorneys’ fees and expenses.

        15.     The Court further orders, adjudges, and decrees that all other relief be, and

is hereby, denied, and that this Federal Court Order and Final Judgment disposes of all

the claims and all the parties in the above-styled and numbered action, as well as

companion state actions consolidated in the District Court of Oklahoma County for the

State of Oklahoma as In re Equal Energy Ltd. Shareholder Litigation, Lead Case No. CJ-

2013-6873.

        16.     Without affecting the finality of this Federal Court Order and Final

Judgment in any way, this Court retains continuing jurisdiction over implementation of

the Settlement and all Parties for the purpose of construing, enforcing, and administering

the Settlement.

        DATED this 8th day of April, 2015.




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